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             EXHIBIT 2 
                      
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                                                                    Page 1

1
2       UNITED STATES DISTRICT COURT
        SOUTHERN DISTRICT OF NEW YORK
3       Civil Case NO.           17-CV-02393
        --------------------------------------------X
4       CIERA WASHINGTON,
5                                        Plaintiff,
6                   -against-
7       WALGREENS; WALGREENS CO.; DUANE READE; DUANE
        READE INC.; DUANE READE INTERNATIONAL, LLC;
8       and Individually and Jointly; LUIS GUERRERO;
        GERMAINE ALLEN; VIVIAN GHOBRIAL; and CRYSTAL
9       BECKRUM,
10                                       Defendants.
11      --------------------------------------------X
12                                1250 Broadway
                                  New York, New York
13
14                                February 14, 2018
                                  10:04 a.m.
15
16                          PORTIONS CONFIDENTIAL
                            ATTORNEYS' EYES ONLY
17
18                  EXAMINATION BEFORE TRIAL of DEFENDANT,
19      GERMAINE ALLEN, by the Plaintiff in the
20      above-entitled action, held at the above time
21      and place, taken before JENNIFER CRUZ, a
22      Professional Shorthand Reporter and Notary
23      Public of the State of New York, pursuant to
24      Notice and stipulations between Counsel.
25

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1                                        G. ALLEN
2           clearer.
3                        Were you fired?
4                   A.   Yes.
5                   Q.   Defendants fired you in early
6           June 2016?
7                   A.   Yes.
8                   Q.   And what were the circumstances
9           surrounding your firing?
10                  A.   Lack of work.
11                  Q.   That's what they claimed?
12                  A.   Yes.
13                  Q.   Any other circumstances?
14                  A.   No.
15                  Q.   How did you come to learn you were
16          fired?
17                  A.   They call me to the office.
18                  Q.   Who called you in the office?
19                  A.   The loss prevention manager and the
20          district manager.
21                  Q.   Loss prevention manager's name?
22                  A.   Don't remember his exact name.
23                  Q.   But it's a he?
24                  A.   Yes, a he.
25                  Q.   Okay.      Could it have been David

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1                                        G. ALLEN
2           -- they called you to do what?
3                   A.   First they suspend me and then three
4           days after they call me to the office.
5                   Q.   Okay.      How did they call you; on the
6           phone?
7                   A.   Yes.
8                   Q.   You were home at the time?
9                   A.   Yes.
10                  Q.   Because you were suspended at the
11          time?
12                  A.   Yes.
13                  Q.   Why were you suspended?
14                  A.   Because of same thing, lack of work.
15                  Q.   You were suspended for a lack of
16          work?
17                  A.   Yes.     Also time management,
18          timekeeping.
19                  Q.   Okay.      What did they say regarding
20          timekeeping?
21                  A.   Hum?
22                  Q.   What were you told regarding
23          timekeeping?
24                  A.   That they said that I was modifying
25          employee time.

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1                                        G. ALLEN
2                   Q.   Modifying employee time?
3                   A.   Yes.
4                   Q.   What did they tell you -- were you
5           told this?
6                   A.   At the time of termination or
7           before?
8                   Q.   At any time.
9                   A.   Time of termination.
10                  Q.   They told you that you were
11          suspended for modifying employee time?
12                  A.   Yes.
13                  Q.   What did they tell you?
14                  A.   That's it.
15                  Q.   They said -- all they said to you
16          was you modified employee time so we're
17          firing you -- so we suspended you?
18                  A.   Yes.
19                  Q.   Did they say anything else?
20                  A.   No, that's it.
21                  Q.   Did you ask any questions?
22                  A.   No.
23                  Q.   So you were -- this is in connection
24          with your suspension; is that correct?
25                  A.   Yes.

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1                                        G. ALLEN
2                   Q.   Okay.      How did you learn you were
3           suspended?
4                   A.   They never tell me I was suspended.
5                   Q.   Well, how did you know not to come
6           to work?
7                   A.   They say stay home, then after
8           review of the case and then they call me back
9           in.      And that's when they call me back in and
10          terminated me.
11                  Q.   Understood.
12                       They said they have to review the
13          case?
14                  A.   Yeah.
15                  Q.   What case were they reviewing, to
16          your knowledge?
17                  A.   Same, time modifying.              That was it.
18                  Q.   How did they contact you saying not
19          to come to work?
20                  A.   The district manager send me a text.
21                  Q.   Sent you a text saying what?
22                  A.   You have to stay home and we're
23          going to review the case, after we finish
24          reviewing the case you could return back to
25          work.

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1                                        G. ALLEN
2                   Q.   Okay.      And what did they -- did you
3           respond to that text?
4                   A.   I probably said okay or yes.
5                   Q.   Okay.      Were you surprised to hear
6           that they told you not to come to work
7           because you were modifying employee time?
8                   A.   Yes.
9                   Q.   So did you tell them that you were
10          surprised in any way?
11                  A.   Yes, I did.
12                  Q.   What did you tell them?
13                  A.   I said I was surprised.              The
14          conversation was not that long.
15                  Q.   Tell me what it was.
16                  A.   Hum?
17                  Q.   What was the conversation?
18                  A.   At the time of termination or?
19                  Q.   At any time.
20                  A.   Time of termination they say --
21                  Q.   No, you said -- let me start from
22          the first time.
23                       When you got the text -- you learned
24          that you were suspended because of a text;
25          right?

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1                                        G. ALLEN
2                   A.   Yes.
3                   Q.   Okay.      A text from the DM, Robert?
4                   A.   Yes.
5                   Q.   Okay.      And that text said what?
6                   A.   They're going to -- you going to get
7           -- sorry.       He's going to get in touch back
8           with me when everything is finalized and I
9           said okay and that's -- wait a couple --
10          maybe three, four days after, he say come to
11          the office, you have to talk to me and that
12          was it.
13                  Q.   Okay.      And that all occurred via
14          text?
15                  A.   Yes.
16                  Q.   Okay.      And you told them that you
17          were surprised?
18                  A.   At the time of termination, yes.
19                  Q.   At the time of suspension?
20                  A.   No.
21                  Q.   What did you respond when he said
22          "stay home"?
23                  A.   I just say okay.
24                  Q.   Okay.      But you didn't notify them
25          that you were surprised about it?

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1                                        G. ALLEN
2                   A.   Yes, no.
3                   Q.   Okay.      What information did you
4           receive with respect to modifying employee
5           time?
6                   A.   What information?
7                   Q.   Yes.
8                   A.   They show me a list of papers say
9           this time -- this person work such and such
10          time, and that was it.
11                  Q.   I don't know if I'm understanding
12          what you're saying.
13                       Can you elaborate?
14                  A.   Like talking about editing punches.
15                  Q.   Editing punch cards?
16                  A.   Yes, card time.
17                  Q.   Okay.      They told you that you were
18          editing punch cards?
19                  A.   Yes.
20                  Q.   Whose punch cards?
21                  A.   They say employee.                 They didn't be
22          specific.       They didn't give an employee name.
23                  Q.   Okay.      How many employees; did they
24          tell you?
25                  A.   No.

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1                                        G. ALLEN
2                   Q.   But they said plural, employees?
3                   A.   Yes.
4                   Q.   Did they tell you how long you were
5           editing punch cards?
6                   A.   No.
7                   Q.   Did you ask?
8                   A.   No.
9                   Q.   Did you ask any other details
10          regarding editing punch cards?
11                  A.   No.
12                  Q.   Did you say anything when they told
13          you that you were editing punch cards of
14          employees?
15                  A.   The only thing I tell them that only
16          time I edit a punch card when an employee did
17          not punch in for lunch or break, that was it.
18                  Q.   And what did they say about that?
19                  A.   They didn't say nothing much about
20          that.
21                  Q.   Okay.      Did you know that you should
22          not have been editing punch cards for
23          employees?
24                  A.   No.
25                  Q.   You had no idea that you were not

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1                                        G. ALLEN
2           discipline policy is if I say that -- strike
3           that.
4                        If I say "progressive discipline
5           policy," what is your understanding of what
6           I'm saying?
7                   A.   Could you rephrase it a different
8           way?
9                   Q.   Sure.
10                  A.   Yeah.
11                  Q.   Do you know at any time when you
12          worked for -- how long did you work for
13          defendants?
14                  A.   Say six years.
15                  Q.   Six years, okay.
16                       How many of those -- strike that.
17                       Of those six years, how long were
18          you a manager?
19                  A.   Say one year.
20                  Q.   And what were you -- and is that the
21          final year before you were fired?
22                  A.   Yes.
23                  Q.   So for the final year before you
24          were fired, you were a manager?
25                  A.   Yes.

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1                                        G. ALLEN
2                   A.   No.
3                   Q.   Do you have any knowledge at all,
4           direct or indirect, written, verbal, what
5           have you, as to the reasons that plaintiff
6           was transferred from the first store to your
7           store?
8                   A.   No.
9                   Q.   Okay.      Do you speak Spanish?
10                  A.   No.
11                  Q.   Have you ever spoken Spanish?
12                  A.   No.
13                  Q.   Okay.      Now, you said that you have
14          knowledge regarding plaintiff's
15          hospitalization while she was an employee;
16          correct?
17                  A.   Yes.
18                  Q.   Okay.      What is the sum and substance
19          of your knowledge?
20                  A.   Answer?
21                  Q.   Yes.
22                  A.   Oh, okay.         At the time -- I was
23          there at the time of the robbery, that's when
24          she said she get injured in her face, that
25          when she went on relief.

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1                                        G. ALLEN
2                   Q.   On relief.
3                        You mean on medical leave?
4                   A.   I mean on medical leave.
5                   Q.   Okay.      So you know that she went on
6           medical leave after the robbery?
7                   A.   Yes.
8                   Q.   And you said "the robbery," you mean
9           the one in December of 2015?
10                  A.   Yes.
11                  Q.   You're not aware of any other thefts
12          occurring when you were an employee?
13                  A.   No.
14                  Q.   At any other time?
15                  A.   No.
16                  Q.   Okay.      When I say "any other," are
17          you aware of any allegations, or what have
18          you, that money was taken without permission
19          at any time in your store?
20                  A.   No, I don't know.
21                  Q.   Okay.      Is it possible?
22                  A.   No, I don't know.
23                  Q.   Okay.      You don't know if it's
24          possible or not?
25                  A.   No.

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